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 7                       UNITED STATES DISTRICT COURT
 8                                 DISTRICT OF NEVADA
 9

10   UNITED STATES OF AMERICA,

11         Plaintiff,                          Case No. 2:13-cr-00132-LDG (VCF)

12   v.                                        ORDER

13   RAMZI SULIMAN,

14         Defendant.

15

16         For good cause shown,

17         THE COURT ORDERS that Defendant’s Motion for Reconsideration of Sentence

18   (#147) is DENIED.

19

20   DATED this ______ day of January, 2017.
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22                                                       Lloyd D. George
                                                         United States District Judge
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